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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 §
                                         §
VS.                                      §                            NO. 1:21-mj-00143
                                         §
NOLAN B. COOKE                           §


                              NOTICE OF APPEARANCE


 TO THE HONORABLE ROBIN M. MERIWEATHER, UNITED                                   STATES
 MAGISTRATE JUDGE FOR THE DISTRICT OF COLUMBIA:

      Now comes DONALD H. FLANARY, III., and respectfully gives notice that he has been

retained by NOLAN B. COOKE to represent him in this cause and hereby enters his appearance

for NOLAN B. COOKE, Defendant above-named.


                                         Respectfully submitted:

                                         Donald H. Flanary III.
                                         Texas State Bar No. 24045877
                                         FLANARY LAW FIRM, PLLC
                                         214 E. Ashby Pl.
                                         San Antonio, Texas 78212
                                         (210) 738-8383
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                                         By:     /s/ Donald H. Flanary, III.
                                                  Donald H. Flanary, III.
                                                  Texas State Bar No. 24045877

                                         Attorney for Defendant,
                                         NOLAN B. COOKE




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                               CERTIFICATE OF SERVICE

       I certify that a true and exact copy of the Defendant Nolan B. Cooke’s Notice of

Appearance of Counsel was electronically sent via CM/ECF to Jolie Zimmerman, Assistant

United States Attorney, on February 19, 2021.



                                                    /s/ Donald H. Flanary, III.
                                                    Donald H. Flanary, III.




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